Case 1:04-cr-10018-.]DT Document 49 Filed 06/30/05 Page 1 of 2 Page|D 41

 

FFL§D F`J/v nn
UNITED STATES DISTRICT COURT "'““

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FOR THE
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WESTERN DISTRICT oF TENNESSEE ;d air 133 g;gr ge
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oRDER oF PRoDUCTIoN

N();l :0¢4-10018-01-T

USA v. Nicholas Devon Goff
AD Prosequendum
FOR: Re-Sentencing Hearing

TO: USl\/[, Westem District of TN
Warden, Big Sandy USP
YOU ARE HEREBY COMMANDED to have the person of

Nicholas Devon Goff , Il]lllate # 19359-076 ,

by you restrained of his/her liberty, as it is said, by Whatsoever names detained, together with the

day and cause of his being taken and detained, before the Honorable James D. Todd, U. S.

District Court Judge, for the Western District of Tennessee, at the room of said Court, in the City

of Jackson, Tennessee, at 8. 30 a.m. on the llth day of Auguet , 20 05 ,

then and there to do, submit to, and receive Whatsoever the said J'udge Shali then and there

determine in that behalf; and have you then and there this writ; further, to hold him in federal

custody until disposition of this case and to produce him for such other appearances as this court

may direct. ft /
ENTERED THIS 0 DAY OF QMM , 20 m 5 .
‘/ GW s aar/ea

JAMES ODD
UNITE STATES DISTRICT JUDGE

This document entered on the docket 361 et 16 gain liance
with Ru!e 55 and/or 32(b) FRCrP on §§

 

DISTRIC COURT - WESERNT D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 1:04-CR-100] 8 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

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l\/lemphis7 TN 38103

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

